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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

____________________________________
                                    )
UNITED STATES                       )
                                    )
                                    )
      v.                            )                Crim. No.: 1:21-mj-533-ZMF
                                    )
SAMUEL LAZAR                        )
                                    )
            Defendants.             )
____________________________________)

                                     NOTICE OF FILING

       Defendant Samuel Lazar, by and through undersigned counsel, in advance of the

detention hearing scheduled for August 11, 2021, submits the attached letters of support for the

Court’s consideration

                                                     Respectfully submitted,

                                                     _______/s/_________________
                                                     David Benowitz # 451557
                                                     Counsel for Samuel Lazar
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                                                     (202) 271-5249
                                                     david@pricebenowitz.com


                              CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing Notice of Filing have been served via the
Court’s ECF system upon the AUSA Douglas Collyer on this 10th day of August, 2020.


                                                     __________/s/_______________
                                                     David Benowitz
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